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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. l:23-md-03076-KMM

   IN RE:

   FTX CRYPTOCURRENCY EXCHANGE
   COLLAPSE LITIGATION


   THIS DOCUMENT RELATES TO BANK DEFENDANTS
   _________________________________________________ /


                       CERTIFICATE OF UNDERSTANDING REGARDING
                 ELECTRONIC FILING IN THE SOUTHERN DISTRICT OF FLORIDA

            I, Desiree F. Moore, the undersigned, do hereby certify that:

            1.      I am a member in good standing of the Bar of Illinois, and am also admitted to

   practice in the United States District Court for the Northern District of Illinois.

            2.      I have studied, understand, and will abide by the Local Rules for the Southern

   District of Florida.

            3.      I have studied, understand, and will abide by the Administrative Procedures

   governing CM/ECF procedures in the Southern District of Florida.

            4.      I will only use this electronic filing privilege in the matter captioned above

   and in no other case in the Southern District of Florida, even if I have been granted pro hac

   vice status in another case in the Southern District of Florida.

            5.      I understand and agree that any misuse of this electronic filing privilege will be

   brought to the attention of the Honorable K. Michael Moore and that this privilege may be

   revoked at any time without notice.




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            6.        If any of the information below changes during the course of this action, I

   shall file a notice of such change in the MDL Action, and I shall update my CM/ECF user

   account pursuant to the Administrative Procedures.

   Dated:        August 11, 2023                        Respectfully submitted,




                                                        Desiree F. Moore
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                                                        Attorneys for Defendant Deltec Bank and
                                                        Trust Company Limited and Jean Chalopin




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                                       CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on August 11, 2023, I electronically filed the foregoing

      with the Clerk of the Court by using the CM/ECF system, which will send a notice of

      electronic filing to all counsel of record.


                                                        Desiree F. Moore




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